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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION


RYAN, LLC,
                                            Civil Action No. 3:24-CV-00986-E
                   Plaintiff,
                                            Hon. Ada Brown
v.

FEDERAL TRADE COMMISSION,

                   Defendant.


       [PROPOSED] ORDER GRANTING UNOPPOSED MOTION
      OF THE NATIONAL ASSOCIATION OF MANUFACTURERS
     FOR LEAVE TO FILE BRIEF AMICUS CURIAE IN SUPPORT OF
     PLAINTIFF’S AND INTERVENORS’ MOTIONS FOR STAY AND
                   PRELIMINARY INJUNCTION

      Before the Court is the unopposed motion of the National Association of

Manufacturers for leave to file a brief amicus curiae in support of Plaintiff’s and

Intervenors’ motions for a stay and a preliminary injunction. Local Rule 7.2(b)

allows an amicus brief to be filed with “leave of the presiding judge.” Good cause

appearing therefor, the motion is GRANTED.


SO ORDERED.

____________, 2024

                                       ___________________________________
                                          UNITED STATES DISTRICT JUDGE



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